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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK

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 UNITED STATES OF AMERICA,

                           - against -                            MEMORANDUM & ORDER
                                                                  04-CR-159 (NGG)
 WILLIAM BROWN,
                                                                  NOT FOR PUBLICATION
                            Defendant.
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 GARAUFIS, United States District Judge.

         Defendants William Brown and Vlad Goldenberg are scheduled to go to trial on

 September 26, 2005 to face charges relating to their alleged participation in a “boiler room”

 securities fraud scheme. On September 21, 2005, oral argument was heard concerning several

 outstanding motions in limine. This M&O addresses the final outstanding in limine motions,

 namely the introduction of co-defendant Vlad Goldenberg’s proffer session statements and

 Brown’s motion to sever his trial from Goldenberg’s.

         In a Memorandum & Order dated September 1, 2005, this court held that the

 Government’s first proposed redactions of Goldenberg’s proffer statements were “insufficient to

 safeguard Brown’s Sixth Amendment rights” under the dictates set forth in Bruton v. United

 States, 391 U.S. 123 (1968). The Government was ordered to resubmit its proposed redactions

 to bring the statements into conformity with Bruton. Familiarity with the court’s September 1,

 2005 M&O is presumed.

         On September 8, 2005, the Government provided further proposed redactions, which the

 Court has reviewed. I now hold that the Government’s further proposed redactions do not run

 afoul of Bruton. All references to Brown have been removed and replaced with generic

 descriptions, such as the names of the relevant brokerage firms or more general indications of
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 management or supervisors at these firms. The statements are now safely outside the scope of

 Bruton because “substantial evidence [is] necessary to link” Brown to the statements. United

 States v. Lung Fong Chen, 393 F.3d 139, 150 (2d Cir. 2004). The link is not an obvious one that

 a jury would immediately make, and therefore, with a limiting instruction, introduction of these

 statements will not violate the Defendant’s right to confrontation. Cf. Gray v. Maryland, 523

 U.S. 185, 196 (1998).

        Defendant Brown has also moved for a severance of his trial from Goldenberg’s on the

 grounds that the Goldenberg may “point his finger” at Brown at trial and that the two co-

 defendants may well present antagonistic defenses. “The mere fact that co-defendants seek to

 place the blame on each other is not the sort of antagonism that requires a severance.” United

 States v. Serpoosh, 919 F.2d 835, 837 (2d Cir. 1990) (internal quotations and citations omitted).

 Rather, severance is required only when “the jury, in order to believe the core of testimony

 offered on behalf of [one] defendant, must necessarily disbelieve the testimony offered on behalf

 of his co-defendant.” United States v. Carpentier, 689 F.2d 21, 28 (2d Cir. 1982). Brown has

 failed to make a showing of antagonism sufficient to meet this standard.

        For the foregoing reasons, Defendant William Brown’s motions to preclude introduction

 of Vlad Goldenberg’s proffer statements and to sever his trial from that of co-defendant Vlad

 Goldenberg are hereby denied.



 SO ORDERED.
 Dated: September 23, 2005                            _________/s/____________
        Brooklyn, NY                                  NICHOLAS G. GARAUFIS
                                                      United States District Judge
